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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
OUSSAMA EL OMARI,                                             :
                                                              :
                         Plaintiff,                           :      23-CV-4607 (JLAK) (OTW)
                                                              :
                      -against-                               :      ORDER
                                                              :
DECHERT LLP, et al.,
                                                              :
                         Defendants.                          :
                                                              :
                                                              :
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         ONA T. WANG, United States Magistrate Judge:

         In light of ECF Nos. 28 and 29, the parties have withdrawn their motion for preliminary

injunction. Accordingly, the Clerk of Court is respectfully directed to close ECF 6.

         SO ORDERED.



                                                                    s/ Ona T. Wang
Dated: August 21, 2023                                            Ona T. Wang
       New York, New York                                         United States Magistrate Judge
